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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DAVID MUNIZ AND CATHY MUNIZ, Civil Action No. 3:23-cv-00825-JFS
Plaintiffs,
Vv. .
SILVIA VITIELLO AND AIR BNB,

Defendants.

 

 

ORDER

 

Based on the Stipulation of the Parties, Defendant Silvio Vitiello’s deadline to respond to
the Complaint shall be extended up through and including July 26, 2023.

IT IS SO ORDERED.

 

CHE HONORABLE JQSEPH F. SAPORITO, JR.
UNITED STATES MAGISTRATE JUDGE

Dated: Junest @, 2023

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